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10
                               UNITED STATES DISTRICT COURT
11
                             SOUTHERN DISTRICT OF CALIFORNIA
12
13    KAJI DOUSA,                                    Case No.: 19cv1255-TWR (KSC)
14                            Plaintiff,
15                  vs.                              JOINT MOTION TO EXTEND
                                                     DOCUMENT PRODUCTION
16    U.S. DEPARTMENT OF HOMELAND                    DEADLINE
      SECURITY, et al.
17
                               Defendants.
18
19          In its Amended Scheduling Order (ECF NO. 93), the Court set a deadline of April
20    16, 2021 for the Federal Defendants to complete production of all documents and
21    electronically stored information (ESI) in response to all of plaintiff’s documents requests.
22    To date, agency attorneys have completed their review of all responsive documents. The
23    vast majority will have been produced to Plaintiff by the current deadline of April 16, 2021.
24          However, CBP agency counsel experienced technical problems with approximately
25    150 documents that also contained additional associated family members. The documents
26    could not be produced because the problems prevented their review. The documents were
27    sent to LTSC for resolution of the technical issues. Most issues were resolved. Those
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1     documents have been returned and reviewed by CBP. They now are being sent to LTSC for
2     final processing. Due to these technical issues, CBP will not be able to produce the
3     documents, as well as the associated family members, until April 23 – one week after the
4     current deadline.
5           For the foregoing reasons, the parties request the Court to extend the production
6     deadline by one week to April 23, 2021.
7
            DATED: April 14, 2021                    Respectfully submitted,
8
                                                     RANDY S. GROSSMAN
9                                                    Acting United States Attorney
10
                                                     /s/ Ernest Cordero, Jr.
11                                                   ERNEST CORDERO, JR.
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                                                     /s/ William C. Purdue__
16                                                   WILLIAM C. PURDUE
                                                     Attorneys for Plaintiff
17
18
            Pursuant to Section 2(f)(4) of the Electronic Case Filing Administrative Policies and
19
      Procedures of the United States District Court for the Southern District of California, I
20
      certify that the content of this document is acceptable to counsel for the Plaintiff and that I
21
      have obtained authorization from William C. Purdue to affix his electronic signature to this
22
      document.
23
            DATED: April 14, 2021                    Respectfully submitted,
24
                                                     RANDY S. GROSSMAN
25                                                   Acting United States Attorney
26
                                                     /s/ Ernest Cordero, Jr.
27                                                   ERNEST CORDERO, JR.
                                                     Attorneys for Federal Defendants
28
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